Case:18-05210-ESL13 Doc#:45 Filed:11/06/18 Entered:11/06/18 17:18:16                      Desc: Main
                           Document Page 1 of 4


                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO

        IN RE:                                            CASE NUMBER: 18-05210 BKT

        OSCAR SOTO RODRIGUEZ                              CHAPTER 13

        Debtor(s)

              DEBTOR’S REPLY TO CREDITOR’S MOTION TO DISMISS AT DOCKET 35

       TO THE HONORABLE COURT:

              Comes now debtor, through the undersigned counsel, and respectfully states and prays as

       follows:

       1      Creditor Desiray Diaz Maldonado has filed a motion to dismiss the instant case based on

              alleged post-petition non compliance by debtor of his DSO obligations.

       2.     Debtor has made all of his post-petition DSO payments as they have become due, herein

              attached are the receipts for the payments due October and November 2018, which are the

              only ones owed as of this date.

       3.     Creditor also states that the arrearage in mortgage payments constitute a failure of the debtor

              to comply with his Domestic Support obligation, however, this is a matter that is yet

              pending adjudication before the family court in Caguas. As of this date, debtor’s only DSO

              obligation is to pay $2,409.00 per month to ASUME. The real property belongs only to

              debtor who has provided for relief from stay as he is not able to pay for the mortgage.

              Debtor has undergone loss mitigation processes with which he has been unable to comply,

              and during all of this time creditor has occupied the property which he is no longer able to

              pay for.

       3.     Debtor is fully in compliance with his post-petition DSO obligations.
Case:18-05210-ESL13 Doc#:45 Filed:11/06/18 Entered:11/06/18 17:18:16                Desc: Main
                           Document Page 2 of 4


       In Re: Oscar Soto Rodríguez                                            Case No. 18-05210 ESL

       Page 2
                WHEREFORE, debtor respectfully requests that this honorable Court denies the Motion to

       Dismiss.

                RESPECTFULLY SUBMITTED, In San Juan, Puerto Rico, this November 6, 2018.

               CERTIFICATE OF SERVICE: I hereby certify that on November 6, 2018 I electronically
       filed the foregoing with the Clerk of the Court using the CM/ECF System which will send
       notification of such filing to all registered parties.


                                                   /s/ Teresa M. Lube Capo
                                                   TERESA M. LUBE CAPO, ESQ.
                                                   USDC 122205
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             Case:18-05210-ESL13 Doc#:45 Filed:11/06/18 Entered:11/06/18 17:18:16           Desc: Main
                                        Document Page 3 of 4




1 of 1                                                                                              10/2/2018, 11:00 AM
Case:18-05210-ESL13 Doc#:45 Filed:11/06/18 Entered:11/06/18 17:18:16   Desc: Main
                           Document Page 4 of 4
